       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 1 of 40




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                         Crim. Action No. 21-24-1 (EGS)

 ROBERT GIESWEIN,

                     Defendant.




      MR. GIESWEIN’S MOTION TO REOPEN DETENTION HEARING

      Robert Gieswein, through undersigned counsel, hereby respectfully requests

that the Court reopen his detention hearing, and reconsider releasing him pursuant

to the strict conditions previously proposed, and any other conditions that the Court

requires. The grounds for these requests follow.


I.    There are grounds to reconsider detention.
      Section 3142(f)(2) of Title 18 provides that a court may reopen a detention

hearing “at any time before trial if” the court “finds that information exists that was

not known to the movant at the time of the hearing and that has a material bearing

on the issue whether there are conditions of release that will reasonably assure the

appearance of such person as required and the safety of any other person and the

community.” As Judge Jackson recently observed, although this text explicitly

permits a court to reopen a hearing upon finding new information, it does not state

that this is the only circumstance under which a court may reopen a detention

hearing. Transcript of Oct. 26, 2021 Bond Motion Hearing in United States v. Sibick,
       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 2 of 40




21-cr-291-1-ABJ), at 3-10, 30 (ultimately finding that there was new information that

indisputably gave the court authority to review detention). 1 Indeed, Judge Jackson

observed that it did not “sit well” with the court that “a court would never have the

authority to review the justification for someone to be locked up.” Id. at 10.


      The Court need not reach that issue to reopen this case, however, because there

is new information of the type explicitly identified in Section 3142(f)(2). Specifically,

recent widely-publicized reports raise new concerns about Mr. Gieswein’s

environment, and the combination of those reports and Mr. Gieswein’s own letter to

the Court establish that releasing him would promote public safety rather than

hinder it.


      First, inspections by the United States Marshals Service of the D.C. Jail

between October 18 and 22 raised grave concerns about the physical safety of all

inmates at both Central Detention Facility and Central Treatment Facility (where

Mr. Gieswein is housed). The Court, as a recipient of Acting U.S. Marshal Ruffin’s

November 1 letter noting key findings from the inspection, is familiar with the

findings. 2 It is true that the letter summarizing the findings of the inspection focused

primarily on atrocious conditions at the CDF, and stated that “’[c]onditions at the



      1   Exhibit 1 is an excerpt of this transcript.
      2 Ex. 2 (November 1 Letter from Lamont J. Ruffin, Acting United States
Marshal, to Quincy Booth, Director, District of Columbia – Department of
Corrections). A U.S. Marshals Service press release about its inspections stated, “The
U.S. Marshal's inspection of CTF did not identify conditions that would necessitate
the transfer of inmates from that facility at this time.” Ex. 3 (USMS Press Release)
(emphasis added).

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       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 3 of 40




Central Treatment Facility (CTF) were observed to be largely appropriate and

consistent with federal detention standards.” 3 But the letter did not say that

conditions at CTF were entirely consistent with federal standards, and the letter

promised a more “formal summary” would be forthcoming, which is not yet publicly

available. Further, the letter did not just provide examples of physical conditions that

were unacceptable; it provided examples of a deeply damaged correctional culture. 4

The same Department of Corrections that runs CDF runs CTF, so it stands to reason

that some of the same cultural problems at CDF may exist at CTF.


      There are also other signs that detainees are not safe at CTF. For example,

Judge Lamberth recently released a detainee out of concern that he was not getting

appropriate medical treatment, and that he might be retaliated against. 5 The

Marshals recently moved men around within the unit Mr. Gieswein is in due to

findings of pervasive mold in the unit (though the mold presumably can still reach




      3   Id.
      4   Id.
      5  J. Fischer, E. Flack, S. Wilson, “Judge orders Proud Boy released from DC
Jail over medical issues, fear of retaliation,” WUSA9.com (Nov. 3, 2021), at
https://www.wusa9.com/article/news/national/capitol-riots/judge-orders-proud-boy-
christopher-worrell-released-from-dc-jail-over-medical-issues-fear-of-retaliation-
lamberth-samsel-january6-capitol-riot/65-5505fcea-60d9-4bb0-8bac-15ba83e3283d
(last visited 11/17/21). (“On Wednesday, however, Lamberth said as a result of the
[Marshals’] inspection he had “zero confidence” D.C. corrections officials would
ensure Worrell, who has non-Hodgkin’s lymphoma, would get the medical care he
needs. Lamberth also said he was worried guards at the facility would ‘retaliate’
against Worrell, whose case helped prompt the inspection.”).



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       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 4 of 40




them through vents in the unit). And an officer in the jail recently used so much of a

spray to subdue one detainee that many others in the unit became ill.


      Second, there is new information about the atmosphere in CTF, and Mr.

Gieswein, that the Court should take into consideration.


      As reported in the press, experts provided with third-hand reports of the

atmosphere in Mr. Gieswein’s unit have voiced concern that the men there are

vulnerable to radicalization due to the particular circumstances of their

incarceration. 6 These commentators rely on the fact that most of those detained in

connection with January 6-based charges are housed together at the CTF, along with

press reports that some men in that pod have developed a name for their group (“the

Patriot Wing,” or the “J6ers”), share a newsletter, and engage in group activities that

experts have characterized as ritualistic. 7


      Further, individuals outside of the unit, and outside of the jail, have also taken

to viewing all residents in this unit as one. On the one hand, some prominent

individuals in politics hold up everyone in the unit as “political prisoners,” and credit




      6T. Owen, “Capitol Rioters in Jail’s ‘Patriot Wing’ Have Their Own Rituals and
a Growing Fan Base,” Vice.com (Oct. 21, 2021), at https://www.vice.com/en/article
/akvwjp/january-6-rioters-jailed-together-forming-rituals-fanbase     (last  visited
11/17/21).
      7   See id.

                                           4
           Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 5 of 40




those in the unit for “standing up to tyranny.” 8 On the other hand, some powerful

voices describe everyone charged in relation to January 6 as an “insurrectionist.” 9


           This all raises a significant concern that Mr. Gieswein, a very young man who

came to the District alone, is now trapped in a highly charged environment that could

potentially exert undue influence on his thinking, and may eventually create pressure

on him to conform, or to allow others’ political narratives to drive his thinking and

decision-making. It may be that the isolation and supposed echo-chamber that Mr.

Gieswein is exposed to in the “J6 pod” will only deepen and harden in some of the

detainees the very ideas underpinning the January 6 protests – ideas that this Court

has determined to be dangerous when in action. Indeed, other men detained in the

same unit have publicly reported feeling pressure to conform due to trends in the

unit. 10


           In a letter addressed to the Court, Mr. Gieswein does not report feeling such

pressure at this point, and he does not disparage the other detainees in his unit. 11



          See Rep. Taylor Greene at https://twitter.com/mtgreenee/status/1
           8

456704043993243650 (Nov. 5, 2021) (tweeting about her recent visit to the CTF,
observing, “[i]t was like they were prisoners of war,” and suggesting situation reflects
“authoritarianism” and “tyranny,” and including video clip in which she described
detainees as “political prisoners”) (last visited 11/17/21).
         See, e.g., C. Carrega and H. Rabinowitz, “Insurrectionists’ Jail Complaints
           9

Lead to Overdue Reform within DC’s Jail System,” CNN (Nov. 14, 2021); Matt Stieb,
“First Insurrectionist Sent to Prison for Capitol Riot,” New York Magazine (July 17,
2021), at https://nymag.com/intelligencer/2021/07/insurrectionist-paul-hodgkins-
sent-to-prison-for-1-6-riot.html (last visited 11/17/21).
           10   See, e.g., Ex. 1 at 18-19.
           11   Ex. 4 (Letter from Mr. Gieswein).

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       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 6 of 40




But his letter does reflect a concern that his detention naturally limits his

perspective. 12


II.    Taking the new information into account, the proposed release plan
       will reasonably assure the safety of the community.
       The Court will recall that some of Mr. Gieswein’s closest friends did not share

his ardent support of President Trump leading up to January 6. 13 It comes as no

surprise, then, that Mr. Gieswein values the ability to trade ideas with other people

of different perspectives, as his letter to the Court reflects. 14 That is exceedingly

difficult for him to accomplish at CTF. But it would be very easy to find in the home

of his godparents – a law enforcement officer and risk management professional –

who have agreed to act as third party custodians if Mr. Gieswein is released. He

already knows that his godparents disagree with much of what took place at the

Capitol on January 6, and that they will expose him to others of similar viewpoints. 15


       Mr. Gieswein is right that exposure to a breadth of perspectives is important

for everyone – individually, and for the community. That is, putting aside whether

commentators raising alarms about this CTF unit in the press are right, there can be

little doubt that permitting Mr. Gieswein (or others like him) broad access to different




       12   See id.
       13See Ex. 5 (Declarations of Mr. Gieswein’s friends, filed previously at ECF
Nos. 18-1 and 18-2).
       14   Ex. 4.
       15  See id.; Transcript of July 1, 2021 Hr’g at 12-13 (proffer by undersigned
counsel that proposed third party custodian and husband condemned any assault on
officers).

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       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 7 of 40




perspectives, delivered by trusted sources, will ultimately lead to a healthier and

safer community.


      The text of Section 3142(g) does not limit what factors a court must consider

in determining whether release pretrial release is appropriate. And it is proper under

the BRA for the Court to consider risks that detention presents to Mr. Gieswein and

his fellow detainees, particularly those that could spill over into the community.

Indeed, there is recent precedent for this, as courts around the country considering

pretrial detention after March of 2020 weighed the risk that individual inmates

would contract the coronavirus if they were detained pretrial as the pandemic raged.


      In untold numbers of cases, courts found that “incarcerating [defendants] while

the current COVID-19 crisis continues to expand poses a far greater risk to

community safety than the risk posed by” particular defendants’ release under

particular conditions. See, e.g., United States v. Harris, 2020 WL 1482342, at *1

(D.D.C. 2020) (releasing defendant to home confinement on strict conditions); United

States v. Davis, 449 F. Supp.3d 532, 539 (D. Md., 2020) (finding that government’s

concern that defendant would return to dealing drugs and selling firearms unlawfully

“can be addressed with release conditions,” pursuant to which the Court found that

defendant’s “continued incarceration poses a greater risk to community safety” due

to coronavirus “than his release”); see also United States v. Jaffee, Crim. No. 19-cr-88

(D.D.C. Mar. 26, 2020) (minute order concluding that release to home confinement on

high intensity supervision was appropriate after considering “all of the factors

specified in 18 U.S.C. 3142(g), and, in particular, the overall safety of the community”

                                           7
       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 8 of 40




because “the Court is now convinced that incarcerating the defendant while the

current COVID-19 crisis continues to expand poses a greater risk to community

safety than posed by Defendant's release to home confinement.”); United States v.

Ramos, No. 18-CR-30009-FDS, 2020 WL 1478307, at *1 (D. Mass. Mar. 26, 2020)

(finding that Ramos's “continued detention poses a risk of danger to himself and

others” due to coronavirus), cited in Davis, 449 F. Supp 3d at 539.


      This Court, too, considered the risk that particular inmates would be infected

with coronavirus if detained in weighing requests for release during the height of the

pandemic. For instance, the Court found that the risk to a particular inmate actually

rose to the level of an “exceptional circumstance” warranting release during the

pendency of a motion pursuant to 18 U.S.C. § 2255. See, e.g., United States v. Khan,

11-276-01-EGS, ECF 300 (April 21, 2020) (granting emergency temporary release to

defendant at CTF awaiting hearing on § 2255 motion seeking release from sentence

not due to expire until 2028 due to coronavirus pandemic). And the court weighed the

risk in pretrial release cases, and in weighing Section 3142 factors in the

compassionate release context. See, e.g. United States v. Terrell, 19-cr-00372-EGS,

ECF 60 (June 17, 2020) (granting emergency pretrial release to defendant in light of

risk presented by coronavirus pandemic given his medical conditions); see also, e.g.,

United States v. Boykin, 2020 WL 6193838, at *5 (D.D.C., 2020) (granting

compassionate release and noting, in weighing of section 3142 factors, that

defendants many health conditions made “the pandemic very dangerous for him and

heightens his need to practice proper social distancing,” such that, in that particular


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       Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 9 of 40




instance, defendant’s “health concerns outweigh his criminal history,” and concluding

that, “[a]ccordingly, the Court finds that Mr. Boykin does not present a danger to his

community”). In short, the Court took into consideration the fact that detention in

itself put both defendants and the community at significant risk while the

coronavirus raged. Sometimes, the Court determined that the risk that a particular

defendant could become infected, and could become very ill, and that he could spread

the disease, coupled with the fact that detention in itself magnified these risks,

outweighed the other factors in section 3142.


      The Court should take the same approach here. Specifically, undersigned

counsel requests that the Court consider the evidence that Mr. Gieswein could

become ill from exposure to mold or the other unacceptable conditions in the CTF,

that he is definitely harmed by having such limited ability to engage with trusted

people with a broad set of viewpoints, and that promoting more communication across

perspectives will improve public safety.


      When weighing the factors in 3142 in this case previously, the Court noted that

Mr. Gieswein’s “history and characteristics reflect an ability to abide by the law.”

ECF No. 29 at 47. In the same vein, the Court found that “Mr. Gieswein’s age, lack of

criminal history, family and community ties, and history of steady employment

overall weigh in favor of his pretrial release.” Id. Ultimately, the Court determined

that Mr. Gieswein’s alleged conduct on January 6 simply outweighed all of that. Id.

at 48-53.




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      Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 10 of 40




      But the new information now before the Court is a factor that should tip the

balance back toward release, as it highlights the danger that incarceration itself can

present in this case, just as the pandemic did in many cases. 16


      The details of Mr. Gieswein’s release plan take on greater weight when

considered against this risk, and should tip the scale even further toward release. The

Court will recall that although Mr. Gieswein is from Colorado, he asked to be released

to the custody of his godmother, a risk management officer, and his godfather, a police

officer, who live on a large property in Oklahoma. 17 As Mr. Gieswein notes, he

believes his godfather’s viewpoint, in particular, would provide valuable perspective




      16 Moving Mr. Gieswein to another jail is not a solution. Not only would moving
him to another jail bring him no closer to trusted sources with different perspectives,
but it would also make it impossible for him to prepare for trial. As the Court is aware,
he is scheduled to go to trial on February 16, 2022. The government has produced
unprecedented amounts of discovery, most of it only recently; it has also projected
that more is coming. ECF No. 54. Mr. Gieswein is entitled to review it, to discuss it
with counsel to participate in the preparation of his defense. At best, it will be an
enormous challenge to accomplish this given CTF’s discovery review protocols and
the trial date. But, despite its faults and limitations, CTF allows for far greater
attorney-client contact, and far greater ability for detainees to review discovery, than
the Alexandria Detention Center or Northern Neck Regional Jail presently do. And
undersigned counsel is not aware of any way to accomplish the task with detainees
in Bureau of Prison facilities. Mr. Gieswein should be released from CTF, but not at
the expense of his ability to adequately prepare for trial.
        It would also not help to order Mr. Gieswein to another unit at the jail. Jail
staff long ago determined that the January 6 detainees would likely be at risk in other
units. Indeed, a long-serving CO recently informed undersigned counsel that, given
his long experience at the jail, he agreed that January 6 detainees would not fare well
in other units.
      17See ECF No. 18 at 1 (describing proposed conditions); Transcript of July 1,
2021 Hr’g at 18-19 (same).

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      Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 11 of 40




to him. 18 Mr. Gieswein also proposed to be limited by extensive conditions, and is

open to any other condition the Court would propose. 19


      Finally, Mr. Gieswein’s letter to the Court should tip the balance completely

toward release. His words reinforce the evidence that any violations of law that the

government ultimately proves in this case represent, at worst, an aberration. His

letter reflects that Mr. Gieswein’s is a devoted son and brother, and an intellectually

curious young man who wisely recognizes the danger of saturation with only one

perspective. Finally, as he himself says, he “will never put [himself] into a situation

like” January 6 again, and he personally promises to abide by whatever conditions

the Court imposes. 20 Under all of these circumstances, the Court can be confident

that it is not necessary to detain Mr. Gieswein pretrial to ensure the safety of the

community.




      18   Ex. 4 (Letter from Mr. Gieswein).
      19  See ECF No. 18 at 1 (describing proposed conditions); Transcript of July 1,
2021 Hr’g at 18-19 (same). A home detention condition would prevent Mr. Gieswein
from traveling except for work and related necessities: he could not go to any rally
or political event. He also could not sneak to one, given the location monitoring
proposed. He proposed to stay off of social media, where such events are typically
planned, to minimize the risk that he would even know about events similar to
January 6, much less plan to attend them (notwithstanding the lack of evidence
that he engaged in any planning with others before January 6). He proposed to let a
probation officer monitor his use of any computer, which would provide the officer
an opportunity to search for any communications that raised concerns. Finally,
though there was no evidence that he lived among negative influences in his
hometown in Colorado, he also proposed to live far away from the environment in
which he happened to have formed his views.
      20   Ex. 4.

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      Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 12 of 40




                                  CONCLUSION


      For all of these reasons, those previously given in support of release, and such

others as may be advanced at a hearing on this matter, Mr. Gieswein respectfully

requests that the Court reopen the detention hearing. Further, he respectfully

requests that the Court release him to a third party custodian, pursuant to the

conditions proposed and such others as the Court may find appropriate.

      Respectfully submitted on November 17, 2021.

                                              ROBERT GIESWEIN
                                              by counsel:

                                              Geremy C. Kamens
                                              Federal Public Defender for the
                                              Eastern District of Virginia

                                              by:________s/_______________
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Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 13 of 40




                           Exhibit 1
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 14 of 40


                    IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF COLUMBIA
   - - - - - - - - - - - - - - - - x
   UNITED STATES OF AMERICA         CR No. 1:21-cr-00291-ABJ-1

                                          Washington, D.C.
   v.                                     Tuesday, October 26, 2021
                                          9:30 a.m.

   THOMAS F. SIBICK,

                     Defendant.
   - - - - - - - - - - - - - - - - x
   ____________________________________________________________
        TRANSCRIPT OF BOND MOTION HEARING AND STATUS CONFERENCE
             HELD BEFORE THE HONORABLE AMY BERMAN JACKSON
                     UNITED STATES DISTRICT JUDGE
   ____________________________________________________________
   APPEARANCES:

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   Proceedings recorded by machine shorthand; transcript
   produced by computer-aided transcription.
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 15 of 40         2


1                              P R O C E E D I N G S

2                   THE DEPUTY CLERK:     Good morning, Your Honor.

3                   This morning, we have Criminal Case No. 21-291-1,

4       the United States of America v. Thomas F. Sibick.

5                   Appearing telephonically is our Pretrial Services

6       Agency officer.

7                   Would you please identify yourself for the record.

8                   THE PROBATION OFFICER:      Good morning, Your Honor.

9       Christine Schuck, Pretrial Services.

10                  THE COURT:    Good morning.

11                  THE DEPUTY CLERK:     Will counsel for the Government

12      please identify herself and her colleague for the record.

13                  MS. GARDNER:    Good morning, Your Honor.       Cara

14      Gardner and Tara Ravindra on behalf of the United States.

15                  THE COURT:    Good morning.

16                  THE DEPUTY CLERK:     Defense counsel?

17                  MR. BRENNWALD:     Good morning, Your Honor.         Stephen

18      Brennwald for Mr. Sibick.

19                  THE COURT:    And Mr. Sibick is present.

20                  THE DEFENDANT:     Yes, ma'am.

21                  THE COURT:    All right.    Good morning, everybody.

22                  Mr. Haley, can I just ask you a question.

23                  THE DEPUTY CLERK:     Absolutely.

24                  (Brief pause.)

25                  THE COURT:    Okay.   We're here on a motion asking
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 16 of 40        3


1       me to reopen the detention order and the detention hearing

2       in this case.     It's Docket 83.     It was supported by a series

3       of letters, information received from the guards at the

4       Department of Corrections.       A number of these letters were

5       similar to the ones I received in connection with the last

6       motion.    So I'm not going to summarize them all for the

7       record, but I want to assure the defendant and defense

8       counsel and the Government that I read every single one of

9       them, and they're at Docket 84.        The Government filed an

10      opposition at Docket 87, and there was a reply filed under

11      seal at Docket 88.      I don't intend to go into the details or

12      the substance of it, but I may refer to it just in general

13      terms, and I hope that's appropriate.

14                  The predicate question that we need to take up is

15      the legal basis for the defendant's motion.          I noted at the

16      last hearing that 18 U.S. Code Section 3142(f) provides that

17      a bond hearing may be reopened, before or after a

18      determination by the judicial officer, at any time before

19      trial if the judicial officer finds that information exists

20      that was not known to the movant at the time of the hearing

21      and that has a material bearing on the issue of whether

22      there are conditions of release that will reasonably assure

23      the appearance of such person as required and the safety of

24      any other person and the community.

25                  The D.C. Circuit has held that under that section,
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 17 of 40     4


1       Section 3142(f)(2), a court was authorized to open the

2       detention hearing when previously non-existent, material

3       information was brought to light.        That's United States v.

4       Peralta, 849 F.2d 625 at 622 [sic] from the D.C. Circuit in

5       1988.   In that case, the new information was the court's

6       suppression ruling against the defendant, which increased

7       the likelihood of his conviction and that he would flee if

8       not detained and, therefore, someone who was not previously

9       detained was.

10                  In United States v. Lee, 451 F. Supp. 3d at -- 1

11      at Page 5 from this District in 2020, a District Court judge

12      quoted the rule and went on to say that, New and material

13      information consists of something other than a defendant's

14      own evaluation of his character or the strength of the case

15      against him; instead, it must consist of truly changed

16      circumstances, something unexpected, or a significant event.

17      And the court got that language from a case out of the

18      Southern District of New York, United States v. Esposito,

19      354 F. Supp. 3d 354, 359, though I don't think the statute

20      has the word "unexpected" in it.

21                  The court went on to say, Moreover, and

22      significantly for present purposes, previously unavailable

23      information that has no material bearing on the factors that

24      must be considered to establish the propriety of pretrial

25      detention aren't important unless that new information casts
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 18 of 40       5


1       a different light on any of those factors.          And it points

2       out that Black's Law Dictionary defines "material" as having

3       some logical connection with the consequential facts or of

4       such a nature that knowledge of the item would affect a

5       person's decision-making; significant; essential.           And in

6       that case, this was one of the first bond review hearings

7       based on coronavirus and the court found that it was worthy

8       of consideration.

9                   The Government has provided a few opinions from

10      other Districts in United States v. Dillon, 938 F.2d 1412,

11      out of the First Circuit; and the Fifth Circuit case, United

12      States v. Hare, 873 F.2d 796, found that letters from

13      supporters in the community weren't really previously

14      non-existent.     And the Government also points to United

15      States v. Martin, 2015 WL 1738362 from the Northern District

16      of California in 2005 [sic], which rejected the notion that

17      the fact that the defendant had completed a course while he

18      was detained would qualify as new evidence that had a

19      material bearing on the decision.        That court said,

20      Defendant's interpretation misunderstands the purpose of the

21      statute, which is to allow parties to present unknown

22      information that increases the chances the defendant appears

23      for their criminal hearing, or decreases the danger the

24      defendant poses to an individual or the community as a

25      whole.    Allowing defendant to reopen detention hearings to
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 19 of 40         6


1       present evidence regarding classes he took while in custody

2       doesn't serve this purpose.       Moreover, the court was

3       concerned that anybody could just take a course and then

4       file a motion and said that would lead to judicially

5       inefficient practices and is, therefore, erroneous.

6                   I don't think there's any dispute that I may

7       reopen the hearing upon the showing described in subsection

8       (f).   While I was unpersuaded by the arguments about the

9       video at the last hearing that it changed anything, it was

10      because I felt that some of the other information that was

11      being presented to me in connection with the defendant and

12      the last motion called into question the notion that there

13      were no conditions that would protect the community, I

14      invited the parties to address the issue in writing again.

15                  What I was not sure about, and what I asked you to

16      brief was, is the converse of Peralta true?          Yes, you can

17      reopen if there's new information.        But am I prohibited from

18      doing so otherwise, particularly if we're talking about

19      releasing a person from detention as opposed to detaining

20      someone who wasn't detained before, as in Peralta?           In other

21      words, does the Court lack the inherent power to review or

22      modify a detention determination in its discretion?              And I'm

23      not sure that either side pointed me to law on that

24      question.    I did find a case from another court in this

25      District that cited a 10th Circuit opinion, United States v.
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 20 of 40       7


1       Worrell, W-O-R-R-E-L-L, at 2021 WL 2366934 from June of

2       2021.   The court felt that the defendant's health condition

3       didn't have material bearing on the detention order, and he

4       quoted a case from the 10th Circuit, United States v.

5       Cisneros, 328 F.3d 610 at 614, that said, Reconsideration is

6       permissible under this section only when there is new

7       information that would materially influence the judgment

8       about whether there are conditions of release which will

9       reasonably assure that the defendant will not flee and will

10      not harm any other person or the community.

11                  So before we get to whether the information

12      presented constitutes new information and how it bears on

13      the prediction that I'm supposed to make at this point about

14      the defendant, I do want to hear argument on the question

15      about whether I have to make the finding under Section

16      3142(f) to go forward or whether I can review a detention

17      order at any time, given my supervisory powers over this

18      case.

19                  So Mr. Brennwald, do you want to address that.

20                  MR. BRENNWALD:     Thank you, Your Honor.

21                  Two things.    Number one, we would argue that the

22      Court has inherent power as the judicial officer assigned to

23      the case to review material that has come in.          As I argued

24      in my reply, he didn't have a chance to get this letter from

25      Major Moquet before the hearing before Chief Judge Howell on
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 21 of 40       8


1       March 16.    So we do consider that new evidence.        The other

2       thing that's significant and that I don't know if it's had

3       the impact on the Court that it had on me is the new

4       information -- it -- there's -- I don't think there can be

5       any question that it's new that Mr. Sibick's diagnosis is

6       completely different.

7                   THE COURT:    All right.    Mr. Brennwald, I'm not

8       saying I disagree with you about any of that, and I --

9                   MR. BRENNWALD:     Okay.

10                  THE COURT:    -- am going to hear with you -- from

11      you --

12                  MR. BRENNWALD:     Okay.

13                  THE COURT:    -- on that.

14                  MR. BRENNWALD:     Okay.

15                  THE COURT:    I'm just trying to find out right

16      now --

17                  MR. BRENNWALD:     Right.   I mean, I --

18                  THE COURT:    -- do I have to hang my hat on Section

19      3142(f) or do I have broader authority?         I'm not saying I

20      don't think I can.      I just really want to know, because it

21      was surprising to me how little authority there is out

22      there --

23                  MR. BRENNWALD:     Right.

24                  THE COURT:    -- and the statute doesn't say "only

25      if."
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 22 of 40       9


1                   MR. BRENNWALD:     Right.

2                   THE COURT:    It just says "if."

3                   MR. BRENNWALD:     Right.

4                   THE COURT:    So I want to know what your reading of

5       the law is about just the legal standard that governs us

6       this morning, and then I will give you ample opportunity to

7       argue what the facts show this morning.

8                   MR. BRENNWALD:     Okay.    Thank you.

9                   I don't have any cases.      The Court cited the cases

10      that it looked at, Cisneros and Worrell, but I think the

11      fact that the language is not "only if" but "if" would imply

12      that the Court has some discretion.        I wish I had something

13      more substantive --

14                  THE COURT:    Okay.

15                  MR. BRENNWALD:     -- to provide to you, but I think

16      that Congress knows how to make things clear when they want

17      to make them clear, you know?       You have languages that say

18      "may" or "must," things like that.        So I would argue to the

19      Court that the Court does have the authority to do that, but

20      I wish I had something --

21                  THE COURT:    All right.

22                  MR. BRENNWALD:     -- substantive.    I did spend time

23      looking for it and, like the Court said, there's --

24                  THE COURT:    It's really not there, I don't think.

25                  MR. BRENNWALD:     Right.   So this might be a case of
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 23 of 40        10


1       first impression.

2                   THE COURT:    Okay.   All right.    Thank you.

3                   Does the Government want to address that issue?

4                   And, Ms. Ravindra, Mr. Haley informed me that you

5       have a conflict this morning.       If you have to leave, just

6       go.   Don't worry about it.

7                   MS. RAVINDRA:    Thank you, Your Honor.

8                   THE COURT:    All right.

9                   MS. GARDNER:    So Your Honor, the Government's

10      position is that, under the plain language of the statute,

11      Your Honor does need to make a finding under 3142(f)(2).         We

12      hadn't briefed Peralta and Worrell, so I can't necessarily

13      speak to those, but the Government's position is that Your

14      Honor is limited to the plain language of the statute.

15                  THE COURT:    All right.    It seems odd to me that a

16      court would never have the authority to review the

17      justification for someone to be locked up.          It just doesn't

18      sit well with me.     I understand your position, and the

19      statute says what it says and the cases have been generally

20      accepting that assumption, though it seems to me that there

21      -- I know, certainly, during the pandemic, I got bond review

22      motion after bond review motion after bond review motion and

23      I'm not sure every one put it under 3142(f).

24                  But the next question is, if you assume that the

25      test does apply and we have to satisfy that showing to
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 24 of 40         18


1       Warren fan, but his mindset's changed to the point where he

2       had to get out of that unit that he was in.          I don't know if

3       the Court saw this, and I was trying to link an article that

4       I read two weeks ago and I couldn't find it, but there was

5       an article that was written.       I think it was written by

6       Spencer Hsu of the Washington Post -- I'm not sure -- H-S-U

7       -- who described what I've known for months, is that that

8       unit at CTF is radicalizing the people who are there.            And

9       I'm not trying to be overly dramatic, but literally there

10      are people there on their tablets looking at podcasts by the

11      folks one would suspect one would follow if you have that

12      mentality.    And the fact -- I think the Court may have --

13      may know this, but every night at 9:00 o'clock, the Court --

14      the folks there stand up and sing the Star-Spangled Banner.

15      I don't know if the Court's heard that before, but that's

16      what happens --

17                   THE COURT:   I heard it in the news.      I hadn't

18      heard it from anybody with personal knowledge.

19                   MR. BRENNWALD:    I -- you can -- I have personal

20      knowledge.    I was on the phone with Mr. Sibick a month ago

21      and we talked and, literally in the middle -- a minute -- in

22      the middle of our talk, he said to me, I have to put the

23      phone down.    I'll be right back.      They'll be angry if I

24      don't go over there.      Literally.    It's, like, this herd

25      mentality.    So he put the phone down, and I can hear them
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 25 of 40        19


1       all singing and they're shouting, most of them off key, but

2       they're literally singing the song.        It was almost cult-like

3       or, maybe, it was cult-like.       It was pretty scary, frankly.

4       And then he came back and then we got back to our discussion

5       and, you know, he was -- he's trying to get along.           He's

6       going along to get along.       His biggest fear is, If I don't

7       get out, how -- what do I do?       Because he's in the hole.        He

8       doesn't want to go back up there.        He shouldn't have to be

9       in the hole because he's trying to avoid a radical unit.

10                  But my point is -- as far as this Court's analysis

11      is, he's not the same person who was there on January 6th

12      deluded by claims of stolen elections and doing whatever,

13      you know, angry, shouting, and in a manic phase.           I mean,

14      he's just not that person anymore.        And so the question is,

15      does that make him less dangerous?        And I get that it's not

16      something that we can analyze scientifically.          Mental health

17      -- I mean, mental health is not just some vapor and smoke

18      floating in the air.      It is actually a chemical process, but

19      it's not like a broken bone where you can look at an MRI and

20      see it.    So people have a hard time accepting medication's

21      changes on a person's mind, but he's definitely a different

22      person, and that to me tells me -- that combined with the

23      political distancing he's trying to achieve by getting out

24      of there -- literally getting out of there -- I mean,

25      getting out --
     Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 26 of 40       30


1       trying to just live his life and do the best he can.

2                   THE COURT:    Okay.   Thank you, Mr. Brennwald.

3                   The Court of Appeals upheld the trial court's

4       original application of the 3142 factors, and I think

5       everyone needs to understand that I'm not ruling that either

6       the Chief Judge or the Court of Appeals erred in any way.

7       His detention to date was not, as has been asserted

8       publicly, a disgrace to our country.         The alleged attack on

9       Officer Fanone, who was performing his sworn duty as a law

10      enforcement officer guarding the citadel of our democracy,

11      was.   But I find that the record before me now includes

12      information that was not known to the movant at the time of

13      the hearing and that does have a material bearing on the

14      issue that I have to decide and that every judge has to

15      think about every day which is whether there are conditions

16      of release that will reasonably assure the appearance of the

17      person as required and the safety of any other person and

18      the community.     So I'm going to grant the motion.        There

19      will be conditions.

20                  Not everything the defense has presented is

21      entirely new.     One fact is that he turned himself in the

22      second time after Judge Howell's order.         She obviously

23      didn't know that at the time she issued her order, but that

24      is the minimal expectation.       And while I do understand from

25      defense counsel that the letters from the community could
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 27 of 40




                           Exhibit 2
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 28 of 40
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 29 of 40
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 30 of 40




                           Exhibit 3
                 Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 31 of 40




For Immediate Release                Contact:
November 02, 2021                    U.S. Marshals Office of Public Affairs (703) 740-1699


                              Statement by the U.S. Marshals Service
                             Re: Recent Inspection of DC Jail Facilities

Washington, D.C. – During the week of October 18, the U.S. Marshal for the District of Columbia
conducted an unannounced inspection of the District of Columbia Department of Corrections (DC DOC)
facilities that house several hundred detainees who are facing charges in the U.S. District Courts for
the District of Columbia and Maryland or are awaiting placement in a Federal Bureau of Prisons (BOP)
facility to serve their sentence. While the U.S. Marshals Service (USMS) is responsible for the care and
custody of these detainees, under an agreement between the federal and DC governments, the DC
DOC is responsible for determining where within their corrections facilities the inmates will be housed;
maintaining and staffing the physical facilities; and providing for detainees.

The USMS inspection was prompted by recent and historical concerns raised regarding conditions at
the DC DOC facilities, including those recently raised by various members of the judiciary.

The inspection encompassed two DC DOC housing facilities - the Central Treatment Facility (CTF) and
the Central Detention Facility (CDF). During the unannounced inspection, the U.S. Marshal reviewed
both housing facilities and conducted more than 300 voluntary interviews with detainees.

The U.S. Marshal’s inspection of CTF did not identify conditions that would necessitate the transfer of
inmates from that facility at this time. CTF houses approximately 120 detainees in the custody of the
USMS, including all the defendants in pre-trial custody related to alleged offenses stemming from
events that took place on January 6 at the U.S. Capitol, as well as other federal detainees. Housing
assignments for detainees are determined by the DC DOC.

The U.S. Marshal’s inspection of CDF revealed that conditions there do not meet the minimum
standards of confinement as prescribed by the Federal Performance-Based Detention Standards. CDF
houses approximately 400 detainees in the custody of the USMS.

Based on the results of the unannounced inspection, USMS leadership made the decision to remove
from CDF all detainees under the custody of the USMS. Working with the BOP, the USMS will transfer
those detainees to USP Lewisburg in Pennsylvania. The Lewisburg BOP facility provides attorney and
visitor areas, medical care, and video teleconferencing capabilities. The USMS is committed to
ensuring that detainees have adequate access to defense counsel, family support, medical care, and
discovery related to their cases while in USMS custody.

The USMS has informed DC DOC of its findings, and the USMS Prisoner Operations Division will work
with DC DOC to initiate a corrective action plan.

Additional information about the U.S. Marshals Service can be found at http://www.usmarshals.gov.

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                           America’s First Federal Law Enforcement Agency
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 32 of 40




                           Exhibit 4
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 33 of 40
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 34 of 40
Case 1:21-cr-00024-TNM Document 56-1 Filed 11/18/21 Page 35 of 40




                           Exhibit 5
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      Case1:21-cr-00024-TNM
           1:21-cr-00024-EGS Document
                              Document56-1
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                                             Filed11/18/21
                                                   06/08/21 Page
                                                             Page36
                                                                  1 of 3
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                  DECLARATION OF BENJAT'/IIN DONALD ROCKEL
       l, Benjamin Donald Roekel, I am 23 and fully eonipetent to make the following
declaration:


       1.      I have known Bobby Gieswein since I was a junior in high-school, and we

have been close friends since 2018.

       2.      Bobby and I wanted    a nickname to describe our group of friends who
shared interests in camping, shooting, disaster preparedness, and outdoor survival.

       3.      At first, we chose the name "Rocky Mountain           Oathkeepers," and

registered a website URL, rockymountainoathkeeprs.com. I was contacted by a man

who said he was a leader in a state Oathkeep,er organization, who told us that the word

"Oathkeeper" is trademarked, and we needed to either become an Oathkeeper chapter,

or change the name. We researched the group because we had not known much about

them before. We decided we did not want to join, and chose to change the name.           I



believe that we were not able to change the name of our group on the registration, but

we were able to change the website name. That is when we started calling ourselves

the Woodland Wild Dogs.

       4.      Nobody was required to go through any initiation, pay any dues, or attend

particular events   or   meetings, follow any rules,    or share any ideology to join   in

Woodland Wild Dog outings. There was no formal hierarchy in our group.

       5.      The Woodland Wld Dog included people who were not ardent supporters

of former President Trump, including myself. I voted for him, but reluctantly. I believe

that other members of the group did not vote for him.
     Case
      Case1:21-cr-00024-TNM
           1:21-cr-00024-EGS Document
                              Document56-1
                                       18-1 Filed
                                             Filed11/18/21
                                                   06/08/21 Page
                                                             Page37
                                                                  2 of 3
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        6.       The Woodland Wild Dogs were not an antigovernment group.

   . 7.          The most people that I have ever been with on a Woodland Wild Dog

outing with is fivc or six peopE.

        8.       I went camping with some of this group in late 2020, but the last time we

got more than four people together for a campout was probably in 2019, or very early

2020.

        9.       Bobby never told me he was an Oathkeeper, and I never had reason to

think he wiiS.

        10.      Bobby never told me he was a Proud Boy, and I never had reason to think

that he was.

        11.      Bobby and I hung out with some members of a local "Three Percentef

group, but we stopped after         a while. The Iast time we hung out with them was
approximately 2018.

        12.      Bobby never told me he was part of any other group, and I had no reason

to think that he was.

        13.      Bobby told me he was going to Washington, DC for the rally that Trump

supporters planned for January 6.

        14.      Although he invited me to join him, Bobby never tried to recruit me in any

plan to get into the Capitol, prevent the counting of electoral votes, or prevent Joe

Biden from taking off,ce as President.
    Case
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                                      18-1 Filed
                                            Filed11/18/21
                                                  06/08/21 Page
                                                            Page38
                                                                 3 of 3
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       15.     Bobby never suggested that he had any plan to get into the Capitol,

prwent the counting of electoral votes, or prevent Joe Biden from taking office as

President.

       16. I have never seen Bobby threaten violence,          let alone actually commit
violencO againSt ah6thef persoR.


       17.     Bobby frequently wore his plate carrier on camping outings, and even

around town.

      18.      Bobby wanted to     a be a police officer, and also told me that he had
spoken with an Army recruiter about joining the Army.

      I declare under penalty of perjury that the foregoing is true and conect.


Executed on June   L,zozl
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 Case1:21-cr-00024-TNM
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                                              06/08/21 Page
                                                        Page39
                                                             1 of 2
                                                                  40
Case
 Case1:21-cr-00024-TNM
      1:21-cr-00024-EGS Document
                         Document56-1
                                  18-2 Filed
                                        Filed11/18/21
                                              06/08/21 Page
                                                        Page40
                                                             2 of 2
                                                                  40
